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                           CONFIDENTIAL - TO BE FILED UNDER SEAL

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15                              UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA

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                                                 )
18                                               )
     UNITED STATES OF AMERICA,                   )   CASE NO.: 4:20-cv-07810-JSW
19                                               )
                  Plaintiff,                     )   DECLARATION OF POUYA FATEMI
20                                               )
                                                 )   IN SUPPORT OF PLAID’S
           v.                                        PROPOSED TRIAL DATE
21                                               )
                                                 )
     VISA INC. and PLAID INC.,                   )
22
                                                 )
23                Defendants.                    )
                                                 )
24                                               )
                                                 )
25                                               )
                                                 )
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                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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           DECLARATION OF POUYA FATEMI IN SUPPORT OF PLAID’S PROPOSED TRIAL DATE
                                  CASE NO.: 4:20-cv-07810-JSW
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 1          I, Pouya Fatemi, declare as follows:

 2          1.       I am the Head of Finance at Plaid Inc. (“Plaid”), and have held this role since

 3   January 2016.

 4          2.       My responsibilities as Plaid’s Head of Finance include oversight of Plaid's

 5   financial operations and strategy, including financial planning and analysis, investor relations,

 6   accounting, tax, and treasury.

 7          3.       The following facts are within my personal knowledge, and if called and sworn as

 8   a witness, I could and would testify competently to these facts.

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            DECLARATION OF POUYA FATEMI IN SUPPORT OF PLAID’S PROPOSED TRIAL DATE
                                   CASE NO.: 4:20-cv-07810-JSW
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